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 8                         UNITED STATES DISTRICT COURT
 9                       NORTHERN DISTRICT OF CALIFORNIA
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11   IN RE: RUBBER CHEMICALS              )
     ANTITRUST LITIGATION,                )
12                                        )       No. C04-1648 MJJ (BZ)
                                          )           (Lead Case)
13   This document relates to:            )
                                          )       ORDER RESOLVING
14         C07-1057 MJJ (BZ)              )       MISCELLANEOUS DISCOVERY
                                          )       MATTERS
15                                        )
                                          )
16
17         IT IS HEREBY ORDERED as follows:
18         1.    Flexsys’ motion to remove incorrectly filed documents
19   (Doc. No. 32) is DENIED.
20         2.    Flexsys’ administrative motion to seal letter from
21   the European Commission (Doc. No. 36) is DENIED.
22         3.    Kuhmo’s objection to the filing of the letter from
23   the European Commission (Doc. No. 31) is OVERRULED.
24   Dated:     May 29, 2007
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26                                          Bernard Zimmerman
                                     United States Magistrate Judge
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